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                           SHANNON LEA SELLE
                       5

                       6                         UNITED STATES DISTRICT COURT
                                                EASTERN DISTRICT OF CALIFORNIA
                       7                              SACRAMENTO DIVISION

                       8

                       9 UNITED STATES OF AMERICA,                   NO.   CR S-05-0309 GEB

                      10              Plaintiff,                     ORDER TO EXONERATE BAIL

                      11        v.

                      12 SHANNON LEA SELLE,

                      13             Defendant.
                           ___________________________/
                      14

                      15        Upon the request of defendant and good cause appearing,

                      16        IT IS HEREBY ORDERED that the current bond in this matter

                      17 is exonerated.       The Clerk of the Court is ordered to exonerate

                      18 the $500,000 corporate surety bond posted as security for bail

                      19 herein and notify Accredited Surety and Casualty and Marty’s

                      20 Bail Bonds of the exoneration.

                      21 DATED: September 1, 2006.

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                      24

                      25 Ddad1/orders.criminal/selle0309.ord

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